Case: 22-11037     Document: 42-2    Page: 1    Date Filed: 12/22/2022




       United States Court of Appeals
            for the Fifth Circuit
                           ___________

                            No. 22-11037
                           ___________

State of Texas; American Association of Pro-Life
Obstetricians & Gynecologists; Christian Medical &
Dental Associations,

                                                   Plaintiffs—Appellees,

                                versus

Xavier Becerra; United States Department of Health
and Human Services; Centers for Medicare and
Medicaid Services; Karen L. Tritz; David R. Wright,

                                      Defendants—Appellants.
              ______________________________

             Appeal from the United States District Court
                 for the Northern District of Texas
                       USDC No. 5:22-CV-185
             ______________________________

ORDER:
      IT IS ORDERED that Appellants’ unopposed motion to stay the
case pending district court proceedings is GRANTED.



                               ___________________________
                               Patrick E. Higginbotham
                               United States Circuit Judge
